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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                                      Criminal No.                           d.
 UNITED STATES OF AMERICA
                                                      Violations;
                V.


                                                      Count One: Tampering with a Consumer
 BRIANNA M. DUFFY,                                    Product
                                                      (18U.S.C. § 1365(a)(4))
                        Defendant

                                                      Count Two: Acquiring a Controlled Substance
                                                      by Fraud, Deception, and Subterfuge
                                                      (21 U.S.C. § 843(a)(3))
SEALED                                                Forfeiture Allegation
                                                      (21 U.S.C. § 853)

                                          INDICTMENT


       At all times relevant to this Indictment:


                                       General Allegations

       1.      Defendant BRIANNA M. DUFFY ("DUFFY") was a resident of Haverbill,

Massachusetts and a registered nurse employed by various professional staffing agencies.

       2.      Morphine was a Schedule II controlled substance. Morphine sulfate was a drug

containing morphine and is an opioid used for pain relief.

       3.      The United States Food and Drug Administration (hereinafter "FDA") was an

agency within the executive branch of the Government of the United States. The FDA was the

agency responsible for protecting the health and safety of the public by ensuring, among other

things, that drugs intended for use in humans were safe and effective for their intended uses and

that the labeling of such drugs was true and accurate. As part of its mission to protect the public

health, FDA—specifically its Office of Criminal Investigations—had the authority to investigate

allegations of tampering with consumer products, including drugs.
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     DUFFY'S Theft of Victim 1's Morphine at Maplewood Care and Rehabilitation Center

       4.      From December 2016 until July 2017, DUFFY worked as a registered nurse at the

Maplewood Care and Rehabilitation Center in Amesbury, Massachusetts (hereinafter

"Maplewood").

       5.      While at Maplewood, DUFFY had access to morphine that was prescribed to

Victim 1, a 68-year-old patient. Two bottles of morphine for Victim 1 were delivered to

Maplewood on or about May 5,2017. The bottles of morphine, however, were not administered

to Victim 1 before May 15, 2017, when Victim 1 was transferred to a hospital.

       6.      Beginning on or about May 5, 2017, and continuing through on or about July 18,

2017, DUFFY removed morphine from two bottles that were prescribed to Victim 1. DUFFY

removed the tamper-proof plastic seal around the cap of the bottles, porured out morphine, diluted

the remaining morphine with another liquid, and reattached the tamper-proof plastic seal with

tape. Testing later revealed that the diluted bottles only contained approximately 1.2% and

2.5% of the prescribed concentration of morphine.

       7.      On or about July 18,2017, DUFFY tested positive for morphine, barbiturates, and

benzodiazepines, and was fired from her nursing position.

             DUFFY'S Tamnering of Victim 2's Morphine at Hunt Nursing and Rehab

       8.      On March 17,2019 and March 18,2019, DUFFY worked as a registered nurse at

Hunt Nursing and Rehab (hereinafter "Hunt") in Danvers, MA. DUFFY was supposed to

administer morphine to Victim 2, an 89-year old hospice patient who received morphine every

four hours for pain control. Instead, DUFFY tampered with Victim 2's morphine, which was

manufactured in New York, by removing morphine and diluting Victim 2's bottle with another

liquid. After DUFFY's tampering, laboratory tests later revealed that Victim 2's morphine

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bottle only had 26% of the prescribed concentration of morphine. The diluted morphine was

administered to Victim 2, causing Victim 2 unnecessary pain and bodily injury.
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                                          COUNT ONE
                              Tampering with a Consumer Product
                                  (18U.S.C. § 1365(a)(4))

       9.      From on or about March 17,2019, and continuing through on or about March 18,

2019, in Danvers, in the District of Massachusetts, the defendant,

                                     BRIANNAM. DUFFY,

wdth reckless disregard for the risk that anotherpersonwouldbe placedin dangerof deathor bodily

injury, and under circumstances manifesting extreme indifference to such risk, did tamperwdth a

consumerproductthat affectedinterstate commerce, to wit, a bottleof morphinesulfateprescribed

to Victim 2, and with the labeling and container for such product, by removing morphine sulfate

from the bottle and replacing the removed liquid with another solution.

       All in violation of Title 18, United States Code, Section 1365(a)(4).
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                                         COUNT TWO
             Acquiring a Controlled Substance by Fraud, Deception, and Subterfuge
                                     (21 U.S.C. § 843(a)(3))

       10.    From on or about May 5,2017, and continuing through on or about July 18,2017,

in Amesbury, in the District of Massachusetts, the defendant,

                                    BRIANNA M. DUFFY,

did knowingly and intentionally acquire and obtain morphine sulfate, a Schedule II controlled

substance, by misrepresentation, fraud, deception, and subterfuge, namely, the defendant, while

working as a registerednurse, did divert morphine sulfateprescribedto Victim 1 for her own

use.



       All in violation of Title 21, United States Code, Section 843(a)(3).
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                                 DRUG FORFEITURE ALLEGATION
                                         (21 U.S.C. § 853)


       11.     Upon conviction the offense in violation of Title21, United States Code, Section

843(a), set forth in Count Two of this Indictment, the defendant,

                                     BRIANNA M. DUFFY,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853, any

property constituting, or derived from, any proceeds obtained, directly or indirectly, as a result

of such offense; and any property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, such offense.

       12.     If any of the property described in Paragraph 11, above, as being forfeitable

pursuant to Title21, United States Code, Section 853, as a result of any act or omission of the

defendant


               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                   difficulty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendant up to the value of the property described

in Paragraph 11 above.

       All pursuant to Title 21, United States Code, Section 853.
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                                                     A TRUE BILL




                                                           PERSON    O




Llys^ Q. Wan
ASSISTANT UN\tLD STATES ATTORNEY
DISTRICT OF MASSACHUSETTS



District of Massachusetts: July Z       2019
Returned into the District Court by the Grand Jurors and filed.



                                                      )EPUTY CLERK
